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                              MINUTE ORDER

   CASE NUMBER:         Civ. No. 14-00217 HG-KSC
   CASE NAME:           Cara Barber; Melissa Jones; Melissa
                        Streeter; Katie Eckroth; Bob Barber; Tim
                        Jones; Ryan Eckroth v. Ohana Military
                        Communities, LLC; Forest City Residential
                        Management, Inc.
   ATTYS FOR PLA:       Patrick Kyle Smith, Esquire
                        Terrance Revere, Esquire
   ATTYS FOR            Lisa W. Munger, Esquire
   DEFT:                Randall C. Whattoff, Esquire
                        Christine A. Terada, Esquire


        JUDGE:      Helen Gillmor

        DATE:       September 20, 2016


  On September 9, 2016, Defendants filed:

        DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND
        FOREST CITY RESIDENTIAL MANAGEMENT, INC.’S MOTION
        TO (1) CONTINUE MEDIATION AND/OR (2) UNSEAL THE
        ORDER GRANTING, IN PART, DEFENDANTS’ MOTION FOR
        PRELIMINARY INJUNCTION FOR THE LIMITED PURPOSE OF
        PROVIDING THE ORDER TO THE MEDIATOR. (ECF No.
        355).

       The requested action relates to mediations in which
  Plaintiff’s attorneys represent other tenants of the
  Defendants.

  On September 13, 2016, Plaintiff filed:

        PLAINTIFF CARA BARBER’S OPPOSITION TO DEFENDANTS’
        MOTION: (1) TO CONTINUE MEDIATION AND/OR UNSEAL
        THE ORDER GRANTING, IN PART, DEFENDANTS MOTION FOR
        PRELIMINARY INJUNCTION FOR THE LIMITED PURPOSE OF
        PROVIDING THE ORDER TO THE MEDIATOR. (ECF No.
        359).

       The contract between Defendants Ohana Military
  Communities, LLC and Forest City Residential Management,
  Inc. and the tenants, which were the subject of the

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  mediations in question, reads as follows:

        Mediation. Owner and Resident agree to mediate
        any dispute or claim arising between them out of
        this Lease, before resorting to court action.

       (Ohana Military Communities, LLC and Forest City
  Residential Management, Inc. Lease Agreement, ECF No. 16-2).

        On September 15, 2016, Plaintiff filed:

        NOTICE THAT DEFENDANTS’ MOTION: (1) TO CONTINUE
        AND/OR UNSEAL THE ORDER GRANTING, IN PART,
        DEFENDANTS’ MOTION FOR PRELIMINARY INJUNCTION FOR
        THE LIMITED PURPOSE OF PROVIDING THE ORDER TO THE
        MEDIATOR IS MOOT. (ECF No. 362).

       Plaintiff’s Notice attached a September 14, 2016, e-
  mail from the mediator. The e-mail stated that:

        “after private discussions with both parties during the
        mediation I have determined that this matter is at
        impasse.” (E-mail from Keith Hunter dated September
        14, 2016, attached as Ex. 1 to Pla.’s Notice, ECF No.
        362-1). The parties in question are the Defendants and
        tenants represented by the Plaintiff’s attorneys.

       Plaintiff’s filing indicates that she considers
  Defendant’s Motion to Continue and/or Unseal (ECF No. 355)
  to be MOOT. (Pla.’s Notice at p. 2, ECF No. 362).

        On September 16, 2016, Defendants filed:

        DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND
        FOREST CITY RESIDENTIAL MANAGEMENT, INC’S REPLY TO
        PLAINTIFF CARA BARBER’S OPPOSITION TO DEFENDANTS’
        MOTION TO (1) CONTINUE MEDIATION AND/OR (2) UNSEAL
        THE ORDER GRANTING, IN PART, DEFENDANTS’ MOTION
        FOR PRELIMINARY INJUNCTION FOR THE LIMITED PURPOSE
        OF PROVIDING THE ORDER TO THE MEDIATOR. (ECF No.
        363).

       In their filing, Defendants indicate their agreement
  with Plaintiff that their Motion to Continue and/or Unseal
  (ECF No. 355) is MOOT. (Def.’s Reply at p. 2, ECF No. 363).



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        The Motion before the Court:

        DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND
        FOREST CITY RESIDENTIAL MANAGEMENT, INC.’S MOTION
        TO (1) CONTINUE MEDIATION AND/OR (2) UNSEAL THE
        ORDER GRANTING, IN PART, DEFENDANTS’ MOTION FOR
        PRELIMINARY INJUNCTION FOR THE LIMITED PURPOSE OF
        PROVIDING THE ORDER TO THE MEDIATOR (ECF No. 355)

  is DENIED AS MOOT.



        Submitted by: Leslie Sai, Courtroom Manager




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